               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                 :
                                         :
                v.                       :    1:22CR8-1
                                         :
JARRETT HOBBS                            :


                 NOTICE TO PROCEED ON VIOLATIONS

      NOW COMES the United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina,

and hereby provides notice, pursuant to Standing Order 11, that the

Government will not be proceeding on Violation 2 on the 12C Petition, (DE #6).

The Government will proceed on Violations 1, 3, and 4, (DE #6). For Violation

1, the Government will call one witness who will be traveling from Georgia to




       Case 1:22-cr-00008-CCE Document 20 Filed 10/21/22 Page 1 of 3
North Carolina to testify at the hearing, which is now set for November 7, 2022,

at 10:00 a.m. (DE #18).

      This the 21st day of October, 2022.

                                    Respectfully submitted,

                                    SANDRA J. HAIRSTON
                                    United States Attorney


                                    /S/ CRAIG M. PRINCIPE
                                    Assistant United States Attorney
                                    NCSB #44720
                                    United States Attorney=s Office
                                    Middle District of North Carolina
                                    101 S. Edgeworth Street, 4th Floor
                                    Greensboro, NC 27101




                                       2




        Case 1:22-cr-00008-CCE Document 20 Filed 10/21/22 Page 2 of 3
                       CERTIFICATE OF SERVICE

     I hereby certify that on October 21, 2022, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system to notify:

     Brian Aus, Esq.

                                    Respectfully submitted,

                                    SANDRA J. HAIRSTON
                                    United States Attorney


                                    /S/ CRAIG M. PRINCIPE
                                    Assistant United States Attorney
                                    NCSB #44720
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       Case 1:22-cr-00008-CCE Document 20 Filed 10/21/22 Page 3 of 3
